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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   WENDELL M. ARMSTEAD, JR.,

 9                              Petitioner,                Case No. C20-391-MJP-MLP

10          v.                                             ORDER OF DISMISSAL

11   RONALD HAYNES,

12                              Respondent.

13

14          Having reviewed the Report and Recommendation of the Honorable Michelle L.

15   Peterson, United States Magistrate Judge (Dkt. No. 11), Petitioner Wendell M Armstead Jr.’s

16   Objections (Dkt. No. 12), and the remaining record, the Court finds that the Report and

17   Recommendation correctly concluded that Mr. Armstead Jr.’s habeas petition is time-barred;

18   Petitioner’s Objections fail to address this deficiency. Therefore:

19          (1)      The Court ADOPTS the Report and Recommendation;

20          (2)      Petitioner’s habeas petition is DENIED, and this action is DISMISSED with

21   prejudice;

22          (3)      A certificate of appealability is DENIED as to all claims; and

23          (4)      The Clerk is directed to send copies of this Order to Petitioner and all counsel.




     ORDER OF DISMISSAL - 1
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 1         Dated this 28th day of September, 2020.

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 4
                                                     A
                                                     Marsha J. Pechman
                                                     United States Senior District Judge
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     ORDER OF DISMISSAL - 2
